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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Case Number: 18-20023-CIV-MORENO

INCARCERATED ENTERTAINMENT, LLC
and EFRAIM DIVEROLI,

Plaintiffs,

vs.
MATTHEW BEVAN COX,

Defendant.
/

 

ORDER OF DISMISSAL WITHOUT PREJUDICE

THIS MATTER is before the Court upon a sua sponte review of the record.

This case is duplicative of two related cases in the Middle District of Florida: (l) 8:16-cv- ,
OlBOZ-MSS-ASS (presently on appeal before the United States Court ` of Appeals for the
Eleventh Circuit) and (2) 8:l7-cv-O3108-MSS-JSS. Accordingly, it is

ADJUDGED that this action is DISMISSED WITHOUT PREJUDICE, With leave to
refile this case in the United States District Court for the Middle District of Florida. lt is also

ADJUDGED that all pending motions are DENIED AS MOOT With leave to refile if

appropriate V/L
DONE AND ORDERED in Charnl)ers at Miami, Florida, this 2 of February,
2018.

 

  

UNITED ATES DISTRICT JUDGE

   

Copies furnished to:

Counsel of Record

Matthew Bevan Cox, Pro Se

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